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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION
   DISPLAY TECHNOLOGIES, LLC,
                  Plaintiff,
                                                        CASE NO. 2:23-cv-00585-JRG-RSP
          v.

   ROCHE DIABETES CARE, LTD.,                           JURY TRIAL DEMANDED

                  Defendant.


                                      PROTECTIVE ORDER
         WHEREAS, Plaintiff and Defendant identified above, hereafter referred to as “the Parties,”

  believe that certain information that is or will be encompassed by discovery demands by the Parties

  involves the production or disclosure of trade secrets, confidential business information, or other

  proprietary information;

         WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with

  Federal Rule of Civil Procedure 26(c):

         THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

  1.     Each Party may designate as confidential for protection under this Order, in whole or in part,

         any document, information or material that constitutes or includes, in whole or in part,

         confidential or proprietary information or trade secrets of the Party or a Third Party to whom

         the Party reasonably believes it owes an obligation of confidentiality with respect to such

         document, information or material (“Protected Material”). Protected Material shall be

         designated by the Party producing it by affixing a legend or stamp on such document,

         information or material as follows: “CONFIDENTIAL.” The word “CONFIDENTIAL”

         shall be placed clearly on each page of the Protected Material (except deposition and hearing



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        transcripts) for which such protection is sought. For deposition and hearing transcripts, the

        word “CONFIDENTIAL” shall be placed on the cover page of the transcript (if not already

        present on the cover page of the transcript when received from the court reporter) by each

        attorney receiving a copy of the transcript after that attorney receives notice of the

        designation of some or all of that transcript as “CONFIDENTIAL.”

  2.    Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of this

        Order with the designation “Confidential” or “Confidential - Outside Attorneys’ Eyes Only”

        shall receive the same treatment as if designated “RESTRICTED - ATTORNEYS’ EYES

        ONLY” under this Order, unless and until such document is redesignated to have a different

        classification under this Order.

  3.    With respect to documents, information or material designated “CONFIDENTIAL,

        “RESTRICTED - ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

        SOURCE CODE” (“DESIGNATED MATERIAL”),1 subject to the provisions herein and

        unless otherwise stated, this Order governs, without limitation: (a) all documents,

        electronically stored information, and/or things as defined by the Federal Rules of Civil

        Procedure; (b) all pretrial, hearing or deposition testimony, or documents marked as exhibits

        or for identification in depositions and hearings; (c) pretrial pleadings, exhibits to pleadings

        and other court filings; (d) affidavits; and (e) stipulations.     All copies, reproductions,

        extracts, digests and complete or partial summaries prepared from any DESIGNATED

        MATERIALS shall also be considered DESIGNATED MATERIAL and treated as such




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           The term DESIGNATED MATERIAL is used throughout this Protective Order to refer
  to the class of materials designated as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’
  EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE,” both individually and
  collectively.


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        under this Order.

  4.    A designation of Protected Material (i.e., “CONFIDENTIAL,” “RESTRICTED -

        ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE”)

        may be made at any time.          Inadvertent or unintentional production of documents,

        information or material that has not been designated as DESIGNATED MATERIAL shall

        not be deemed a waiver in whole or in part of a claim for confidential treatment. Any party

        that inadvertently or unintentionally produces Protected Material without designating it as

        DESIGNATED MATERIAL may request destruction of that Protected Material by notifying

        the recipient(s), as soon as reasonably possible after the producing Party becomes aware of

        the inadvertent or unintentional disclosure, and providing replacement Protected Material

        that is properly designated. The recipient(s) shall then destroy all copies of the inadvertently

        or unintentionally produced Protected Materials and any documents, information or material

        derived from or based thereon.

  5.    “CONFIDENTIAL” documents, information and material may be disclosed only to the

        following persons, except upon receipt of the prior written consent of the designating party,

        upon order of the Court, or as set forth in paragraph 12 herein:

        (a)     outside counsel of record in this Action for the Parties;

        (b)     employees of such counsel assigned to and reasonably necessary to assist such
                counsel in the litigation of this Action;

        (c)     in-house counsel for the Parties who either have responsibility for making decisions
                dealing directly with the litigation of this Action, or who are assisting outside
                counsel in the litigation of this Action;

        (d)     up to and including three (3) designated representatives of each of the Parties to the
                extent reasonably necessary for the litigation of this Action, except that either party
                may in good faith request the other party’s consent to designate one or more
                additional representatives, the other party shall not unreasonably withhold such
                consent, and the requesting party may seek leave of Court to designate such



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               additional representative(s) if the requesting party believes the other party has
               unreasonably withheld such consent;

        (e)    outside consultants or experts (i.e., not existing employees or affiliates of a Party or
               an affiliate of a Party) retained for the purpose of this litigation, provided that: (1)
               such consultants or experts are not presently employed by the Parties hereto for
               purposes other than this Action; (2) before access is given, the consultant or expert
               has completed the Undertaking attached as Exhibit A hereto and the same is served
               upon the producing Party with a current curriculum vitae of the consultant or expert
               at least ten (10) days before access to the Protected Material is to be given to that
               consultant or Undertaking to object to and notify the receiving Party in writing that
               it objects to disclosure of Protected Material to the consultant or expert. The Parties
               agree to promptly confer and use good faith to resolve any such objection. If the
               Parties are unable to resolve any objection, the objecting Party may file a motion
               with the Court within fifteen (15) days of the notice, or within such other time as the
               Parties may agree, seeking a protective order with respect to the proposed disclosure.
               The objecting Party shall have the burden of proving the need for a protective order.
               No disclosure shall occur until all such objections are resolved by agreement or
               Court order;

        (f)    independent litigation support services, including persons working for or as court
               reporters, graphics or design services, jury or trial consulting services, and
               photocopy, document imaging, and database services retained by counsel and
               reasonably necessary to assist counsel with the litigation of this Action; and

        (g)    the Court and its personnel.

  6.    A Party shall designate documents, information or material as “CONFIDENTIAL” only

        upon a good faith belief that the documents, information or material contains confidential

        or proprietary information or trade secrets of the Party or a Third Party to whom the Party

        reasonably believes it owes an obligation of confidentiality with respect to such documents,

        information or material.

  7.    Documents, information or material produced pursuant to any discovery request in this

        Action, including but not limited to Protected Material designated as DESIGNATED

        MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not

        be used for any other purpose. Any person or entity who obtains access to DESIGNATED

        MATERIAL or the contents thereof pursuant to this Order shall not make any copies,



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        duplicates, extracts, summaries or descriptions of such DESIGNATED MATERIAL or any

        portion thereof except as may be reasonably necessary in the litigation of this Action. Any

        such copies, duplicates, extracts, summaries or descriptions shall be classified

        DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

  8.    To the extent a producing Party believes that certain Protected Material qualifying to be

        designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

        limitation, the producing Party may designate such Protected Material “RESTRICTED --

        ATTORNEYS’ EYES ONLY,” or to the extent such Protected Material includes computer

        source code and/or live data (that is, data as it exists residing in a database or databases)

        (“Source Code Material”), the producing Party may designate such Protected Material as

        “RESTRICTED CONFIDENTIAL SOURCE CODE.”

  9.    For Protected Material designated RESTRICTED -- ATTORNEYS’ EYES ONLY, access

        to, and disclosure of, such Protected Material shall be limited to individuals listed in

        paragraphs 5(a-c) and (e-g); provided, however, that access by in-house counsel pursuant to

        paragraph 5(c) be limited to in-house counsel who exercise no competitive decision-making

        authority on behalf of the client.

  10.   For Protected Material designated RESTRICTED CONFIDENTIAL SOURCE CODE,

        the following additional restrictions apply:

        (a)    Access to a Party’s Source Code Material shall be provided only on “stand-alone”
               computer(s) (that is, the computer may not be linked to any network, including a
               local area network (“LAN”), an intranet or the Internet).          The stand-alone
               computer(s) will be able to print selected code to PDF. If Receiving Party’s experts
               need assistance in correctly converting requested source code prints to PDF to
               include the lines, Producing Party will provide this assistance. Additionally, except
               as provided in paragraph 10(n) below, the stand-alone computer(s) may only be
               located at the offices of the producing Party’s outside counsel, its vendors, or
               another mutually agreed upon location. Neither the Receiving Party’s outside
               counsel nor its outside consultants or experts may connect any device to the stand-



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                 alone computer(s);

        (b)      The Receiving Party shall request access to the stand-alone computer(s) to inspect
                 Source Code Material at least ten business days prior to the first review and three
                 business days prior for any subsequent review session, which requests shall not be
                 reasonably refused. The receiving Party shall make reasonable efforts to restrict
                 its requests for such access to the stand-alone computer(s) to normal business
                 hours, which for purposes of this paragraph shall be 9:00 a.m. through 5:00 p.m.
                 However, upon reasonable notice from the receiving party, the producing Party
                 shall make reasonable efforts to accommodate the receiving Party’s request for
                 access to the stand-alone computer(s) outside of normal business hours. The Parties
                 agree to cooperate in good faith such that maintaining the producing Party’s Source
                 Code Material at the offices of its outside counsel shall not unreasonably hinder
                 the receiving Party’s ability to efficiently and effectively conduct the prosecution
                 or defense of this Action;


        (c)      At least seven (7) business days in advance of the date upon which the Receiving
                 Party wishes to use the source code computer, the Receiving Party shall identify
                 the licensed software tools it wishes to have installed and available for use on the
                 source code computers, and provide a properly licensed copy of the software it
                 requests to be installed. Any costs associated with acquiring licenses to request
                 software tools shall be borne by the Receiving Party. In the event that there are
                 issues concerning the installation or use of such tool, the Parties, and their technical
                 staff, shall meet and confer promptly to resolve such issues;


        (d)      No electronic devices are permitted in the Secure Room, including laptops, floppy
                 drives, zip drives, cellular telephones, personal digital assistants, tablets,
                 smartwatches, cameras, voice recorders, telephone jacks or other hardware..
                 However, the source code may not be copied into notes taken by the Receiving
                 Party or a representative thereof. Notwithstanding this provision, file name and
                 location (i.e., directory path), as well as names of functions, data structures, or the
                 like, may be copied into notes taken by the Receiving Party or a representative
                 thereof. The Producing Party may visually monitor the activities of the Receiving
                 Party's representatives during any review, but only to ensure that no unauthorized
                 electronic records of the source code and no information concerning the source
                 code are being transmitted in violation of these restrictions.

              (e) The Producing Party will collect any electronically printed versions of the source
                  code created in Adobe, and Bates number, copy, and label them ''RESTRICTED
                  CONFIDENTIAL SOURCE CODE.” Within five (5) business days, the Producing
                  Party must either (a) deliver 2 sets of such pages to one (1) office of the Receiving
                  Party’s Counsel of Record or (b) provide notice that the printed portions are
                  excessive or were not requested for a permitted purpose, A reasonable request will
                  be presumed to extend for no more than 50 contiguous pages and for no more than



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                 500 total printed pages. These limits may be increased by agreement of the Parties
                 or on a showing of need.

         (f)     The producing Party shall provide the receiving Party with information explaining
                 how to start, log on to, and operate the stand-alone computer(s) in order to access the
                 produced Source Code Material on the stand-alone computer(s);

         (g)     The producing Party will produce Source Code Material in computer searchable
                 format on the stand-alone computer(s) as described above;

         (h)     Access to Protected Material designated RESTRICTED CONFIDENTIAL -
                 SOURCE CODE shall be limited to outside counsel and up to three (3) outside
                 consultants or experts2 (i.e., not existing employees or affiliates of a Party or an
                 affiliate of a Party) retained for the purpose of this litigation and approved to access
                 such Protected Materials pursuant to paragraph 5(e) above. A receiving Party may
                 include excerpts of Source Code Material in a pleading, exhibit, expert report,
                 discovery document, deposition transcript, other Court document, provided that the
                 Source Code Documents are appropriately marked under this Order, restricted to
                 those who are entitled to have access to them as specified herein, and, if filed with
                 the Court, filed under seal in accordance with the Court’s rules, procedures and
                 orders;

         (i)     To the extent portions of Source Code Material are quoted in a Source Code
                 Document, either (1) the entire Source Code Document will be stamped and treated
                 as RESTRICTED CONFIDENTIAL SOURCE CODE or (2) those pages containing
                 quoted Source Code Material will be separately stamped and treated as
                 RESTRICTED CONFIDENTIAL SOURCE CODE;

         (j)     Except as set forth in paragraph 10(n) below, no electronic copies of Source Code
                 Material shall be made without prior written consent of the producing Party, except
                 as necessary to create documents which, pursuant to the Court’s rules, procedures
                 and order, must be filed or served electronically;

         (k)     The receiving Party shall be permitted to make a reasonable number of printouts and
                 photocopies of Source Code Material, all of which shall be designated and clearly
                 labeled “RESTRICTED CONFIDENTIAL SOURCE CODE,” and the receiving
                 Party shall maintain a log of all such files that are printed or photocopied;

         (l)     Should such printouts or photocopies be transferred back to electronic media, such
                 media shall be labeled “RESTRICTED CONFIDENTIAL SOURCE CODE” and

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           For the purposes of this paragraph, an outside consultant or expert is defined to include
  the outside consultant’s or expert’s direct reports and other support personnel, such that the
  disclosure to a consultant or expert who employs others within his or her firm to help in his or her
  analysis shall count as a disclosure to a single consultant or expert.


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               shall continue to be treated as such;

        (m)    If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
               photocopies of Source Code Material, the receiving Party shall ensure that such
               outside counsel, consultants, or experts keep the printouts or photocopies in a
               secured locked area in the offices of such outside counsel, consultants, or expert.
               The receiving Party may also temporarily keep the printouts or photocopies at: (i) the
               Court for any proceedings(s) relating to the Source Code Material, for the dates
               associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
               the Source Code Material are taken, for the dates associated with the deposition(s);
               and (iii) any intermediate location reasonably necessary to transport the printouts or
               photocopies (e.g., a hotel prior to a Court proceeding or deposition); and

        (n)    A producing Party’s Source Code Material may only be transported by the receiving
               Party at the direction of a person authorized under paragraph 10(h) above to another
               person authorized under paragraph 10(h) above, on paper or removable electronic
               media (e.g., a DVD, CD-ROM, or flash memory “stick”) via hand carry, Federal
               Express or other similarly reliable courier. Source Code Material may not be
               transported or transmitted electronically over a network of any kind, including a
               LAN, an intranet, or the Internet. Source Code Material may only be transported
               electronically for the purpose of Court proceeding(s) or deposition(s) as set forth in
               paragraph 10(m) above and is at all times subject to the transport restrictions set forth
               herein. But, for those purposes only, the Source Code Materials may be loaded onto
               a stand-alone computer.

  11.   Any attorney representing a Party, whether in-house or outside counsel, and any person

        associated with a Party and permitted to receive the other Party’s Protected Material that is

        designated RESTRICTED -- ATTORNEYS’ EYES ONLY and/or RESTRICTED

        CONFIDENTIAL SOURCE CODE (collectively “HIGHLY SENSITIVE MATERIAL”),

        who obtains, receives, has access to, or otherwise learns, in whole or in part, the other

        Party’s HIGHLY SENSITIVE MATERIAL under this Order shall not prepare, prosecute,

        supervise, or assist in the preparation or prosecution of any patent application pertaining to

        the field of the invention of the patents-in-suit on behalf of the receiving Party or its

        acquirer, successor, predecessor, or other affiliate during the pendency of this Action and for

        one year after its conclusion, including any appeals. To ensure compliance with the purpose

        of this provision, each Party shall create an “Ethical Wall” between those persons with



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        access to HIGHLY SENSITIVE MATERIAL and any individuals who, on behalf of the

        Party or its acquirer, successor, predecessor, or other affiliate, prepare, prosecute, supervise

        or assist in the preparation or prosecution of any patent application pertaining to the field of

        invention of the patent-in-suit.

  12.   Nothing in this Order shall require production of documents, information or other material

        that a Party contends is protected from disclosure by the attorney-client privilege, the work

        product doctrine, or other privilege, doctrine, or immunity. If documents, information or

        other material subject to a claim of attorney-client privilege, work product doctrine, or other

        privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

        production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

        any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally

        produces documents, information or other material it reasonably believes are protected under

        the attorney-client privilege, work product doctrine, or other privilege, doctrine, or immunity

        may obtain the return of such documents, information or other material by promptly

        notifying the recipient(s) and providing a privilege log for the inadvertently or

        unintentionally produced documents, information or other material. The recipient(s) shall

        gather and return all copies of such documents, information or other material to the

        producing Party, except for any pages containing privileged or otherwise protected markings

        by the recipient(s), which pages shall instead be destroyed and certified as such to the

        producing Party.

  13.   There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

        to have access thereto to any person who is not authorized for such access under this Order.

        The Parties are hereby ORDERED to safeguard all such documents, information and




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         material to protect against disclosure to any unauthorized persons or entities.

   14.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

         DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

         the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have

         access to the DESIGNATED MATERIAL by virtue of his or her employment with the

         designating party, (ii) identified in the DESIGNATED MATERIAL as an author, addressee,

         or copy recipient of such information, (iii) although not identified as an author, addressee,

         or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary course of

         business, seen such DESIGNATED MATERIAL, (iv) a current or former officer, director

         or employee of the producing Party or a current or former officer, director or employee of

         a company affiliated with the producing Party; (v) counsel for a Party, including outside

         counsel and in-house counsel (subject to paragraph 9 of this Order); (vi) an independent

         contractor, consultant, and/or expert retained for the purpose of this litigation; (vii) court

         reporters and videographers; (viii) the Court; or (ix) other persons entitled hereunder to

         access to DESIGNATED MATERIAL. DESIGNATED MATERIAL shall not be disclosed

         to any other persons unless prior authorization is obtained from counsel representing the

         producing Party or from the Court.

   15.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

         deposition or hearing transcript, designate the deposition or hearing transcript or any portion

         thereof as “CONFIDENTIAL,” “RESTRICTED - ATTORNEY’ EYES ONLY,” or

         “RESTRICTED CONFIDENTIAL SOURCE CODE” pursuant to this Order. Access to the

         deposition or hearing transcript so designated shall be limited in accordance with the terms

         of this Order.   Until expiration of the 30-day period, the entire deposition or hearing




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         transcript shall be treated as confidential.

   16.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

         shall remain under seal until further order of the Court. The filing party shall be responsible

         for informing the Clerk of the Court that the filing should be sealed and for placing the

         legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

         caption and conspicuously on each page of the filing. Exhibits to a filing shall conform to

         the labeling requirements set forth in this Order. If a pretrial pleading filed with the Court,

         or an exhibit thereto, discloses or relies on confidential documents, information or material,

         such confidential portions shall be redacted to the extent necessary and the pleading or

         exhibit filed publicly with the Court.

   17.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

         the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

         this Action, or from using any information contained in DESIGNATED MATERIAL at

         the trial of this Action, subject to any pretrial order issued by this Court.

   18.   A Party may request in writing to the other Party that the designation given to any

         DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does not

         agree to redesignation within ten (10) days of receipt of the written request, the requesting

         Party may apply to the Court for relief. Upon any such application to the Court, the burden

         shall be on the designating Party to show why its classification is proper. Such application

         shall be treated procedurally as a motion to compel pursuant to Federal Rules of Civil

         Procedure 37, subject to the Rule’s provisions relating to sanctions.           In making such

         application, the requirements of the Federal Rules of Civil Procedure and the Local Rules

         of the Court shall be met.      Pending the Court’s determination of the application, the




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         designation of the designating Party shall be maintained.

   19.   Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

         accordance with the terms of this Order shall be advised by counsel of the terms of this

         Order, shall be informed that he or she is subject to the terms and conditions of this Order,

         and shall sign an acknowledgment that he or she has received a copy of, has read, and has

         agreed to be bound by this Order. A copy of the acknowledgment form is attached as

         Appendix A.

   20.   To the extent that any discovery is taken of persons who are not Parties to this Action

         (“Third Parties”) and in the event that such Third Parties contended the discovery sought

         involves trade secrets, confidential business information, or other proprietary information,

         then such Third Parties may agree to be bound by this Order.

   21.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

         designate as “CONFIDENTIAL” or “RESTRICTED -- ATTORNEYS’ EYES ONLY”

         any documents, information or other material, in whole or in part, produced or given by

         such Third Parties. The Third Parties shall have ten (10) days after production of such

         documents, information or other materials to make such a designation. Until that time

         period lapses or until such a designation has been made, whichever occurs sooner, all

         documents, information or other material so produced or given shall be treated as

         “CONFIDENTIAL” in accordance with this Order.

   22.   Within ninety (90) days of final termination of this Action, including any appeals,

         all DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes,

         summaries, descriptions, and excerpts or extracts thereof (excluding excerpts or extracts

         incorporated into any privileged memoranda of the Parties and materials which have been




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         admitted into evidence in this Action), shall at the producing Party’s election either be

         returned to the producing Party or be destroyed. The receiving Party shall verify the return

         or destruction by affidavit furnished to the producing Party, upon the producing Party’s

         request.

   23.   The failure to designate documents, information or material in accordance with this Order

         and the failure to object to a designation at a given time shall not preclude the filing of a

         motion at a later date seeking to impose such designation or challenging the propriety

         thereof. The entry of this Order and/or the production of documents, information and

         material hereunder shall in no way constitute a waiver of any objection to the furnishing

         thereof, all such objections being hereby preserved.

   24.   Any Party knowing or believing that any other party is in violation of or intends to violate

         this Order and has raised the question of violation or potential violation with the opposing

         party and has been unable to resolve the matter by agreement may move the Court for such

         relief as may be appropriate in the circumstances. Pending disposition of the motion by the

         Court, the Party alleged to be in violation of or intending to violate this Order shall

         discontinue the performance of and/or shall not undertake the further performance of any

         action alleged to constitute a violation of this Order.

   25.   Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed a

         publication of the documents, information and material (or the contents thereof) produced

         so as to void or make voidable whatever claim the Parties may have as to the proprietary and

         confidential nature of the documents, information or other material or its contents.

   26.   Nothing in this Order shall be construed to effect an abrogation, waiver or limitation of any

         kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.




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   27.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify this

         Order to allow disclosure of DESIGNATED MATERIAL to additional persons or entities

         if reasonably necessary to prepare and present this Action and (b) to apply for additional

         protection of DESIGNATED MATERIAL.




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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION
    DISPLAY TECHNOLOGIES, LLC,
                  Plaintiff,
                                                       CASE NO. 2:23-cv-00585-JRG-RSP
          v.

    ROCHE DIABETES CARE, LTD.,                         JURY TRIAL DEMANDED

                  Defendant.


                                  APPENDIX A
               UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                              PROTECTIVE ORDER
         I, ___________________________________________, declare that:

   1.    My address is _________________________________________________________.

         My current employer is _________________________________________________.

         My current occupation is ________________________________________________.

   2.    I have received a copy of the Protective Order in this action. I have carefully read and

         understand the provisions of the Protective Order.

   3.    I will comply with all of the provisions of the Protective Order. I will hold in confidence,

         will not disclose to anyone not qualified under the Protective Order, and will use only for

         purposes of this action any information designated as “CONFIDENTIAL,”

         “RESTRICTED -- ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

         SOURCE CODE” that is disclosed to me.

   4.    Promptly upon termination of these actions, I will return all documents and things

         designated as “CONFIDENTIAL,” “RESTRICTED -- ATTORNEYS’ EYES ONLY,”

         or “RESTRICTED CONFIDENTIAL SOURCE CODE” that came into my possession,




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         and all documents and things that I have prepared relating thereto, to the outside counsel

         for the party by whom I am employed.

   5.    I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

         Protective Order in this action.

         I declare under penalty of perjury that the foregoing is true and correct.

   Signature ________________________________________

   Date ____________________________________________




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